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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND



DEVON MICHAEL SAPPLETON,                         *
    Petitioner
                                                 *
        v.                                             Civil Action No. PJM-11-491
                                                 *     Criminal Action No. PJM-01-284
UNITED STATES OF AMERICA
     Respondent                                 *
                                             ********

                                  MEMORANDUM OPINION


        Pending is a motion filed under Rule 60(b)(3) of the Federal Rules of Civil Procedure by
Devon Michael Sappleton, a self-represented federal inmate. The Court finds the pleading is
properly construed under 28 U.S.C. ' 2255, and will DISMISS it without prejudice for lack of
subject matter jurisdiction.
I. Background
        Devon Sappleton was convicted by a jury of conspiracy to distribute and possess with intent
to distribute five kilograms or more of cocaine, fifty grams or more of cocaine base, and 100
kilograms or more of marijuana, and possession of ammunition by a convicted felon. On July 29,
2002, he was sentenced to life imprisonment. His conviction was affirmed on appeal. See United
States v. Sappleton, 68 Fed. Appx. 438 (4th Cir. 2003). Sappleton filed a Motion to Vacate, Set Aside
or Correct Sentence under 28 U.S.C. § 2255 which was denied on June 17, 2005. See Sappleton v.
United States; Civil Action No. PJM-04-3668 (D. Md). The Fourth Circuit subsequently denied a
Certificate of Appealability. ECF No. 207.
II. Discussion
        Sappleton avers that fraud was committed upon the court at trial because there is no record
that the prosecuting Assistant United States Attorney had taken her oath of office. The allegation is
patently frivolous. Further, the Motion clearly attempts to challenge Sappleton’s conviction. As
such, the pleading, is properly construed under 28 U.S.C. ' 2255. Calderon v. Thompson, 523 U.S.
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538, 554 (1998) (noting the subject matter of a motion, not the caption assigned to it by a petitioner,
determines its status). As the Supreme Court has explained, a Rule 60(b) motion that Aseeks to add a
new ground for relief@ or Aattacks the federal court=s previous resolution of a claim on the merits,@ is
in fact a second or successive petition for writ of habeas corpus. Gonzales v. Crosby, 545 U.S. 524,
532 (2005). A[A] motion directly attacking the prisoner=s conviction or sentence will usually amount
to a successive application, while a motion seeking a remedy for some defect in the collateral review
process will generally be deemed a proper motion to reconsider.@ See United States v. Winestock,
340 F. 3d 200, 207 (4th Cir. 2003).
        Before filing a second or successive motion in federal district court, a petitioner must first
obtain authorization from the appropriate court of appeals. See 28 U.S.C. §§ 2244(a) & 2255; In re
Avery W. Vial, 115 F.3d 1192, 1197-98 (4th Cir. 1997). Absent evidence that Sappleton has obtained
necessary pre-filing certification, the Motion will be dismissed for lack of jurisdiction.
        In addition, even if the pleading were construed under Rule 60(b)(3), Sappleton would not be
entitled to relief. In order to prevail on any motion under Rule 60(b), a movant is required to meet
certain “threshold conditions.” National Credit Union Administration Board. v. Gray, 1 F.3d 262,
264 (4th Cir.1993). Specifically, it must be shown that (1) the motion is timely, (2) there is a
meritorious defense, and (3) the opposing party would not suffer unfair prejudice by having the
judgment set aside. Id. (citing Park Corp. v. Lexington Insurance Company, 812 F.2d 894, 896 (4th
Cir.1987)).   Rule 60(b)(3) motions must be made within one year after entry of judgment. See
Fed.R.Civ.P. 60(c)(1). In this case, judgment was entered on July 29, 2002, and the instant Rule
60(b)(3) motion, filed more than eight years later, is untimely.
III. Certificate of Appealability
        A certificate of appealability may issue under 28 U.S.C. § 2253(c) (1) (A) only if the

applicant has made a substantial showing of the denial of a constitutional right. “A [COA] may

issue ... only if the applicant has made a substantial showing of the denial of a constitutional

right.” Id. at § 2253(c) (2). To make such a showing, the applicant “must demonstrate that


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reasonable jurists would find the district court's assessment of the constitutional claims debatable

or wrong,” Tennard v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S.

473, 484(2000)), or that “the issues presented were ‘adequate to deserve encouragement to

proceed further,’ ” Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot v.

Estelle, 463 U.S. 880, 893 n. 4(1983). When a district court dismisses a habeas petition solely on

procedural grounds, a certificate of appealability will not issue unless a petitioner can

demonstrate both “(1) ‘that jurists of reason would find it debatable whether the petition states a

valid claim of the denial of a constitutional right’ and (2) ‘that jurists of reason would find it

debatable whether the district court was correct in its procedural ruling.’ ” Rose v. Lee, 252 F.3d

676, 684 (4th Cir.2001) (quoting Slack, 529 U.S. at 484 (2000)). Petitioner has not made the

requisite showing, and a certificate of appealability shall be denied.

IV. Conclusion
       The Motion shall be dismissed without prejudice. A separate Order follows.


                                                                   /s/
                                                             PETER J. MESSITTE
March 1, 2011                                          UNITED STATES DISTRICT JUDGE




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